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HABBA MADAIO & ASSOCIATES LLP
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Bedminster, New Jersey 07921
-and-
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E-mail: ahabba(habbalaw.com
Attorneys for Defendant, Donald J. Trump

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

E. JEAN CARROLL, Civil Action No.: 1:20-cv-7311-LAK-JLC
Plaintiff,
v.
AFFIRMATION OF
DONALD J. TRUMP, in his personal capacity, ALINA HABBA, ESQ.
Defendant.

 

ALINA HABBA, ESQ., pursuant to 28 U.S.C. § 1746 and Local Civil Rule 1.9, declares
as follows:

1. I am the managing partner of the law firm of Habba Madaio & Associates LLP,
attomeys of record for Defendant, Donald J. Trump (“Defendant”), and am duly admitted to
practice in the District Court for the Southern District of New York and the State of New York. I
have reviewed my file, and all matters pertinent to this action, and I am fully familiar with the facts
and circumstances surrounding this case.

2. This Affirmation is submitted in support of Defendant’s motion for leave to amend

his Answer (“Answer”) pursuant to Fed. R. Civ. P. 15(a), to include an affirmative defense and
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counterclaim under New York’s newly-amended anti-SLAPP law, codified as New York Civil
Rights Law §§ 70-a and 76-a.

3. Attached as Exhibit 1 to this affirmation is a true and correct copy of Defendant’s
Answer served upon the plaintiff, E. Jean Carroll, on January 23, 2021.

4. Attached as Exhibit 2 to this affirmation is a true and correct copy of Defendant’s
proposed amended answer.

5, Attached as Exhibit 3 to this affirmation is a true and correct copy of the proposed
amendments in redline as compared to Defendant’s original answer served on January 23, 2021.

6. Based on the foregoing, Defendant respectfully requests that this Court grant the

within motion in its entirety, along with such other and further relief this Court deems necessary.

 

Respectfully Submitted,
Dated: December 1, 2021. . Vil
New York, New York _
Alina Habbay%q.

HABBA MADAIO & ASSOCIATES LLP
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-and-
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Attorneys for Defendant, Donald J. Trump
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EXHIBIT 1
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SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF NEW YORK
E, JEAN CARROLL, * Index No.: 160694/19
Plaintiff,
-against- ANSWER
DONALD J. TRUMP, in his personal capacity,
Defendant.
x

 

Defendant Donald J. Trump (“President Trump”), subject to and reserving all rights to his
immunity, under the Supremacy Clause of the United States Constitution, Article IV, Section II, ofa
sitting United States President from being sued in state court while serving as President, for his
answer to the complaint:

1, Denies the allegations contained in paragraph 1 of the Complaint.

2. Denies the allegations contained in paragraph 2 of the Complaint.

3. Denies the allegations contained in paragraph 3 of the Complaint.

4. Denies the allegations contained in paragraph 4 of the Complaint.

5. Denies the allegations contained in paragraph 5 of the Complaint.

6. Denies the allegations contained in paragraph 6 of the Complaint.

7. Denies the allegations contained in paragraph 7 of the Complaint.

8. Denies the allegations contained in paragraph 8 of the Complaint.

9. Denies the allegations contained in paragraph 9 of the Complaint.

10. Denies the allegations contained in paragraph 10 of the Complaint.

11. _—_ Denies the allegations contained in paragraph 11 of the Complaint.

12. _ Denies the allegations contained in paragraph 12 of the Complaint.
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13. Denies the allegations contained in paragraph 13 of the Complaint.

14. Denies the allegations contained in paragraph 14 of the Complaint.

15. Denies the allegations contained in paragraph 15 of the Complaint.

16. Denies the allegations contained in paragraph 16 of the Complaint.

17. | Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 17 of the Complaint.

18. Denies the allegations contained in paragraph 18 of the Complaint.

19. The allegation contained in paragraph 19 of the Complaint asserts a demand for a jury
trial for which no response is required.

20. Denies the allegations contained in paragraph 20 of the Complaint.

21. Denies the allegations contained in paragraph 21 of the Complaint.

22. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 22 of the Complaint.

23. Denies the allegations contained in paragraph 23 of the Complaint.

24. _ Denies the allegations contained in paragraph 24 of the Complaint.

25. Denies the allegations contained in paragraph 25 of the Complaint.

26. Denies the allegations contained in paragraph 26 of the Complaint.

27. Denies the allegations contained in paragraph 27 of the Complaint.

28. Denies the allegations contained in paragraph 28 of the Complaint.

29. Denies the allegations contained in paragraph 29 of the Complaint.

30. Denies the allegations contained in paragraph 30 of the Complaint.

31. Denies the allegations contained in paragraph 31 of the Complaint.

32. Denies the allegations contained in paragraph 32 of the Complaint.
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33. Denies the allegations contained in paragraph 33 of the Complaint.

34. Denies the allegations contained in paragraph 34 of the Complaint.

35. Denies the allegations contained in paragraph 35 of the Complaint.

36. Denies the allegations contained in paragraph 36 of the Complaint.

37. Denies the allegations contained in paragraph 37 of the Complaint.

38. Denies the allegations contained in paragraph 38 of the Complaint.

39. Denies the allegations contained in paragraph 39 of the Complaint.

40. Denies the allegations contained in paragraph 40 of the Complaint.

41. Denies the allegations contained in paragraph 41 of the Complaint.

42. _ Denies the allegations contained in paragraph 42 of the Complaint.

43. The allegations contained in paragraph 43 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 43 of the Complaint.

44. Denies the allegations contained in paragraph 44 of the Complaint.

45. Denies the allegations contained in paragraph 45 of the Complaint.

46. Denies the allegations contained in paragraph 46 of the Complaint.

47. Denies the allegations contained in paragraph 47 of the Complaint.

48. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 48 of the Complaint.

49. _ Denies the allegations contained in paragraph 49 of the Complaint.

50. Denies the allegations contained in paragraph 50 of the Complaint.

51. Denies the allegations contained in paragraph 51 of the Complaint.

52. Denies the allegations contained in paragraph 52 of the Complaint.
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53. Denies the allegations contained in paragraph 53 of the Complaint.

54. Denies the allegations contained in paragraph 54 of the Complaint.

55. Denies the allegations contained in paragraph 55 of the Complaint.

56. | Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 56 of the Complaint.

57. The allegations contained in paragraph 57 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014, Otherwise, denies knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 57 of the Complaint.

58. The allegations contained in paragraph 58 of the Complaint can neither be admitted
nor denied because of the improper inclusion of footnotes citing to external sources in violation of
CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 58 of the Complaint.

59. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 59 of the Complaint.

60. Denies the allegations contained in paragraph 60 of the Complaint.

61. Denies the allegations contained in paragraph 61 of the Complaint.

62. Denies the allegations contained in paragraph 62 of the Complaint.

63. Denies the allegations contained in paragraph 63 of the Complaint.

64. Denies the allegations contained in paragraph 64 of the Complaint.

65. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 65 of the Complaint.

66. Theallegations contained in paragraph 66 of the Complaint can neither be admitted
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nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 66 of the Complaint.

67. The allegations contained in paragraph 67 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 67 of the Complaint.

68. Denies the allegations contained in paragraph 68 of the Complaint.

69. Denies the allegations contained in paragraph 69 of the Complaint.

70. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 70 of the Complaint.

71. Denies the allegations contained in paragraph 71 of the Complaint.

72. Denies the allegations contained in paragraph 72 of the Complaint.

73. Denies the allegations contained in paragraph 73 of the Complaint.

74, Denies the allegations contained in paragraph 74 of the Complaint.

75. Denies the allegations contained in paragraph 75 of the Complaint.

76. Denies the allegations contained in paragraph 76 of the Complaint.

77. The allegations contained in paragraph 77 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 77 of the Complaint.

78. The allegations contained in paragraph 78 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 78 of the Complaint.

79. Denies the allegations contained in paragraph 79 of the Complaint.
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80. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 80 of the Complaint.

81. Denies the allegations contained in paragraph 81 of the Complaint.

82. Denies the allegations contained in paragraph 82 of the Complaint and respectfully
refers the Court to any alleged statements for their full and accurate content and context.

83. The allegations contained in paragraph 83 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 83 of the Complaint.

84. The allegations contained in paragraph 84 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014, Otherwise, denies the allegations contained in paragraph 84 of the Complaint.

85. Denies the allegations contained in paragraph 85 of the Complaint.

86. Denies the allegations contained in paragraph 86 of the Complaint.

87. Denies the allegations contained in paragraph 87 of the Complaint.

88. Denies the allegations contained in paragraph 88 of the Complaint.

89. Denies the allegations contained in paragraph 89 of the Complaint.

90. Denies the allegations contained in paragraph 90 of the Complaint.

91. The allegations contained in paragraph 91 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 91 of the Complaint and
respectfully refers the Court to any alleged statements for their full and complete content and
context.

92. The allegations contained in paragraph 92 of the Complaint can neither be admitted
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nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 92 of the Complaint.

93. Denies the allegations contained in paragraph 93 of the Complaint.

94. Denies the allegations contained in paragraph 94 of the Complaint.

95. Denies the allegations contained in paragraph 95 of the Complaint.

96. Denies the allegations contained in paragraph 96 of the Complaint.

97, The allegations contained in paragraph 97 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 97 of the Complaint and
respectfully refers the Court to any alleged statement for its full and complete content and context.

98. The allegations contained in paragraph 98 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 98 of the Complaint.

99, The allegations contained in paragraph 99 of the Complaint can neither be admitted
nor denied because of the improper inclusion of footnotes citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 99 of the Complaint.

100. Denies the allegations contained in paragraph 100 of the Complaint.

101. Theallegations contained in paragraph 101 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 101 of the Complaint.

102. The allegations contained in paragraph 102 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of

CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the truth
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of the allegations contained in paragraph 102 of the Complaint.

103. The allegations contained in paragraph 103 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 103 of the Complaint.

104. The allegations contained in paragraph 104 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 104 of the Complaint.

105. Theallegations contained in paragraph 105 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 105 of the Complaint.

106. Denies the allegations contained in paragraph 106 of the Complaint.

107. Denies the allegations contained in paragraph 107 of the Complaint.

108. Denies the allegations contained in paragraph 108 of the Complaint.

109. Denies the allegations contained in paragraph 109 of the Complaint.

110. Denies allegations contained in paragraph 110 of the Complaint and respectfully
refers the Court to any alleged photographs for their full and accurate depictions.

111. The allegations contained in paragraph 111 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 111 of the Complaint and

respectfully refers the Court to any alleged statements for their full and accurate content and context.
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112.

The allegations contained in paragraph 112 of the Complaint can neither be admitted

nor denied because of the improper inclusion of a footnote citing to external sources in violation of

CPLR 3014. Otherwise, denies the allegations contained in paragraph 112 of the Complaint and

respectfully refers the Court to any alleged statements for their full and accurate content and context.

113.

114,

115.

116.

117,

118.

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120.

121.

122.

123.

Denies the allegations contained in paragraph 113 of the Complaint.
Denies the allegations contained in paragraph 114 of the Complaint.
Denies the allegations contained in paragraph 115 of the Complaint.
Denies the allegations contained in paragraph 116 of the Complaint.
Denies the allegations contained in paragraph 117 of the Complaint.
Denies the allegations contained in paragraph 118 of the Complaint.
Denies the allegations contained in paragraph 119 of the Complaint.
Denies the allegations contained in paragraph 120 of the Complaint.
Denies the allegations contained in paragraph 121 of the Complaint.
Denies the allegations contained in paragraph 122 of the Complaint.

The allegations contained in paragraph 123 of the Complaint can neither be admitted

nor denied because of the improper inclusion of a footnote citing to external sources in violation of

CPLR 3014. Otherwise, denies the allegations contained in paragraph 123 of the Complaint and

respectfully refers the Court to any alleged statements for their full and accurate content and context.

124.

125.

Denies the allegations contained in paragraph 124 of the Complaint

The allegations contained in paragraph 125 of the Complaint can neither be admitted

nor denied because of the improper inclusion of a footnote citing to external sources in violation of

CPLR 3014, Otherwise, denies the allegations contained in paragraph 125 of the Complaint and

respectfully refers the Court to any alleged statements for their full and accurate content and context.
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126. Denies the allegations contained in paragraph 126 of the Complaint.

127. The allegations contained in paragraph 127 of the Complaint can neither be admitted
nor denied because of the improper inclusion of footnotes citing to external sources in violation of
CPLR 3014. Otherwise, denies the allegations contained in paragraph 127 of the Complaint.

128. Denies the allegations contained in paragraph 128 of the Complaint.

129. Denies the allegations contained in paragraph 129 of the Complaint.

130. Denies the allegations contained in paragraph 130 of the Complaint.

131. Denies the allegations contained in paragraph 131 of the Complaint.

132. Denies the allegations contained in paragraph 132 of the Complaint.

133. Denies the allegations contained in paragraph 133 of the Complaint.

134. Denies the allegations contained in paragraph 134 of the Complaint.

135. Denies the allegations contained in paragraph 135 of the Complaint.

136. Denies the allegations contained in paragraph 136 of the Complaint.

FIRST CAUSE OF ACTION

137. Paragraphs 1 through 136 are realleged.

138. Denies the allegations contained in paragraph 138 of the Complaint.

139. Denies the allegations contained in paragraph 139 of the Complaint.

140. Denies the allegations contained in paragraph 140 of the Complaint.

141. Denies the allegations contained in paragraph 141 of the Complaint.

142. Denies the allegations contained in paragraph 142 of the Complaint.

143. Denies the allegations contained in paragraph 143 of the Complaint.

144. Denies the allegations contained in paragraph 144 of the Complaint.

145. Denies the allegations contained in paragraph 145 of the Complaint.

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DEMAND FOR RELIEF

 

146. President Trump denies that plaintiff is entitled to any relief requested in the ad
damnum clause of the Complaint or any other relief.

FIRST AFFIRMATIVE DEFENSE

 

147. Plaintiffs claim is barred because defendant is immune, under the Supremacy Clause
of the United States Constitution, from suit in state court while serving as President of the United
States.

SECOND AFFIRMATIVE DEFENSE

 

148. The Complaint fails to state a cause of action.

THIRD AFFIRMATIVE DEFENSE

 

149, The alleged defamatory statements are privileged or protected by one or more
immunities, including, but not limited to, under the Constitution of the United States.
FOURTH AFFIRMATIVE DEFENSE
150. The alleged defamatory statements are true.
FIFTH AFFIRMATIVE DEFENSE
151. Plaintiffs claim is barred because her damages, if any, were caused by acts of third
persons, for which defendant is not responsible.

SIXTH AFFIRMATIVE DEFENSE

 

152. Plaintiff is not entitled to punitive damages as a matter of law.
SEVENTH AFFIRMATIVE DEFENSE
153.  Plaintiffhas not sufficiently alleged defamation per se.
EIGHTH AFFIRMATIVE DEFENSE

154. Plaintiff has failed to plead damages with the required specificity.

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NINTH AFFIRMATIVE DEFENSE

155. The Court lacks personal jurisdiction over President Trump.

WHEREFORE, defendant Donald J. Trump respectfully demands judgment dismissing the
Complaint in its entirety, together with costs, disbursements, and all such other relief as this Court
deems just and proper.

Dated: New York, New York
January 23, 2020

LAROCCA HORNIK ROSEN
& ey iG LLP

  

By: 4,
es mee HAR Re osen, Esq.

Amy), arlin, Esq.

Patt fick McPartland, Esq.

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New York, New York 10005

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PMCPARTLANDia:‘LHRGB.COM

Attorneys for Donald J. Trump
To: Roberta Kaplan, Esq.
Kaplan Hecker & Fink LLP

350 Fifth Avenue, Suite 7110
New York, NY 10118

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EXHIBIT 2
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E-mail: ahabba( habbalaw.com
Attorneys for Defendant, Donald J. Trump

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

E, JEAN CARROLL,
Plaintiff,

Vv.

DONALD J. TRUMP, in his personal capacity,

Defendant.

 

 

Civil Action No.: 1:20-cv-7311-LAK-JLC

AMENDED ANSWER

Defendant, Donald J. Trump (‘President Trump”), subject to and reserving all rights to his

immunity, under the Supremacy Clause of the United States Constitution, Article IV, Section II,

of a sitting United States President from being sued in state court while serving as President, for

his answer to the complaint:

1. Denies the allegations contained in paragraph 1 of the Complaint.
2. Denies the allegations contained in paragraph 2 of the Complaint.
3. Denies the allegations contained in paragraph 3 of the Complaint.
4. Denies the allegations contained in paragraph 4 of the Complaint.
5, Denies the allegations contained in paragraph 5 of the Complaint.

6. Denies the allegations contained in paragraph 6 of the Complaint.
Case 1:20-cv-07311-LAK Document 59-1 Filed 12/01/21 Page 18 of 49

7. Denies the allegations contained in paragraph 7 of the Complaint.
8. Denies the. allegations contained in paragraph 8 of the Complaint.
9. Denies the allegations contained in paragraph 9 of the Complaint.

10. Denies the allegations contained in paragraph 10 of the Complaint.

11. Denies the allegations contained in paragraph 11 of the Complaint.

12. _—_— Denies the allegations contained in paragraph 12 of the Complaint.

13. Denies the allegations contained in paragraph 13 of the Complaint.

14. _—_ Denies the allegations contained in paragraph 14 of the Complaint.

15. Denies the allegations contained in paragraph 15 of the Complaint.

16. Denies the allegations contained in paragraph 16 of the Complaint.

17. | Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 17 of the Complaint.

18. Denies the allegations contained in paragraph 18 of the Complaint.

19, ‘The allegation contained in paragraph 19 of the Complaint asserts a demand for a
jury trial for which no response is required.

20. _ Denies the allegations contained in paragraph 20 of the Complaint.

21. Denies the allegations contained in paragraph 21 of the Complaint.

22. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 22 of the Complaint.

23. Denies the allegations contained in paragraph 23 of the Complaint.

24. Denies the allegations contained in paragraph 24 of the Complaint.

25. Denies the allegations contained in paragraph 25 of the Complaint.

26. Denies the allegations contained in paragraph 26 of the Complaint.
Case 1:20-cv-07311-LAK Document 59-1 Filed 12/01/21 Page 19 of 49

27. Denies the allegations contained in paragraph 27 of the Complaint.

28. Denies the allegations contained in paragraph 28 of the Complaint.

29. Denies the allegations contained in paragraph 29 of the Complaint.

30. Denies the allegations contained in paragraph 30 of the Complaint.

31. Denies the allegations contained in paragraph 31 of the Complaint.

32. Denies the allegations contained in paragraph 32 of the Complaint.

33. Denies the allegations contained in paragraph 33 of the Complaint.

34. Denies the allegations contained in paragraph 34 of the Complaint.

35. Denies the allegations contained in paragraph 35 of the Complaint.

36. Denies the allegations contained in paragraph 36 of the Complaint.

37. Denies the allegations contained in paragraph 37 of the Complaint.

38. Denies the allegations contained in paragraph 38 of the Complaint.

39, Denies the allegations contained in paragraph 39 of the Complaint.

40. Denies the allegations contained in paragraph 40 of the Complaint.

41. Denies the allegations contained in paragraph 41 of the Complaint.

42. Denies the allegations contained in paragraph 42 of the Complaint.

43. The allegations contained in paragraph 43 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 43 of the Complaint.

44. Denies the allegations contained in paragraph 44 of the Complaint.

45. Denies the allegations contained in paragraph 45 of the Complaint.

46. Denies the allegations contained in paragraph 46 of the Complaint.

47. Denies the allegations contained in paragraph 47 of the Complaint.
Case 1:20-cv-07311-LAK Document 59-1 Filed 12/01/21 Page 20 of 49

48. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 48 of the Complaint.

49. Denies the allegations contained in paragraph 49 of the Complaint.

50. Denies the allegations contained in paragraph 50 of the Complaint.

51. Denies the allegations contained in paragraph 51 of the Complaint.

52. Denies the allegations contained in paragraph 52 of the Complaint.

53. Denies the allegations contained in paragraph 53 of the Complaint.

54. Denies the allegations contained in paragraph 54 of the Complaint.

55. Denies the allegations contained in paragraph 55 of the Complaint.

56. | Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 56 of the Complaint.

57. The allegations contained in paragraph 57 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in paragraph 57 of the Complaint.

58. The allegations contained in paragraph 58 of the Complaint can neither be admitted
nor denied because of the improper inclusion of footnotes citing to external sources in violation of
CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 58 of the Complaint.

59. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 59 of the Complaint.

60. Denies the allegations contained in paragraph 60 of the Complaint.

61. Denies the allegations contained in paragraph 61 of the Complaint.
Case 1:20-cv-07311-LAK Document 59-1 Filed 12/01/21 Page 21 of 49

62. Denies the allegations contained in paragraph 62 of the Complaint.

63. Denies the allegations contained in paragraph 63 of the Complaint.

64. Denies the allegations contained in paragraph 64 of the Complaint.

65. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 65 of the Complaint.

66. The allegations contained in paragraph 66 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 66 of the Complaint.

67. The allegations contained in paragraph 67 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in paragraph 67 of the Complaint.

68. Denies the allegations contained in paragraph 68 of the Complaint.

69. Denies the allegations contained in paragraph 69 of the Complaint.

70. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 70 of the Complaint.

71. Denies the allegations contained in paragraph 71 of the Complaint.

72. Denies the allegations contained in paragraph 72 of the Complaint.

73. Denies the allegations contained in paragraph 73 of the Complaint.

74. Denies the allegations contained in paragraph 74 of the Complaint.

75. Denies the allegations contained in paragraph 75 of the Complaint.

76. Denies the allegations contained in paragraph 76 of the Complaint.
Case 1:20-cv-07311-LAK Document 59-1 Filed 12/01/21 Page 22 of 49

77. The allegations contained in paragraph 77 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 77 of the Complaint.

78.  Theallegations contained in paragraph 78 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 78 of the Complaint.

79. Denies the allegations contained in paragraph 79 of the Complaint.

80. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 80 of the Complaint.

81. Denies the allegations contained in paragraph 81 of the Complaint.

82. Denies the allegations contained in paragraph 82 of the Complaint and respectfully
refers the Court to any alleged statements for their full and accurate content and context.

83. The allegations contained in paragraph 83 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 83 of the Complaint.

84. The allegations contained in paragraph 84 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 84 of the Complaint.

85. Denies the allegations contained in paragraph 85 of the Complaint.

86. Denies the allegations contained in paragraph 86 of the Complaint.

87. Denies the allegations contained in paragraph 87 of the Complaint.

88. Denies the allegations contained in paragraph 88 of the Complaint.

89. Denies the allegations contained in paragraph 89 of the Complaint.
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90. __ Denies the allegations contained in paragraph 90 of the Complaint.

91. The allegations contained in paragraph 91 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 91 of the Complaint and
respectfully refers the Court to any alleged statements for their full and complete content and
context.

92. The allegations contained in paragraph 92 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 92 of the Complaint.

93. Denies the allegations contained in paragraph 93 of the Complaint.

94. Denies the allegations contained in paragraph 94 of the Complaint.

95. Denies the allegations contained in paragraph 95 of the Complaint.

96. Denies the allegations contained in paragraph 96 of the Complaint.

97. The allegations contained in paragraph 97 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 97 of the Complaint and
respectfully refers the Court to any alleged statement for its full and complete content and context.

98. The allegations contained in paragraph 98 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 98 of the Complaint.

99. —_ The allegations contained in paragraph 99 of the Complaint can neither be admitted
nor denied because of the improper inclusion of footnotes citing to external sources in violation of

CPLR 3014. Otherwise, denies the allegations contained in paragraph 99 of the Complaint.
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100. Denies the allegations contained in paragraph 100 of the Complaint.

101. The allegations contained in paragraph 101 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 101 of the
Complaint.

102. The allegations contained in paragraph 102 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 102 of the Complaint.

103. The allegations contained in paragraph 103 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 103 of the Complaint.

104. The allegations contained in paragraph 104 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 104 of the Complaint.

105. The allegations contained in paragraph 105 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 105 of the Complaint.

106. Denies the allegations contained in paragraph 106 of the Complaint.

107. Denies the allegations contained in paragraph 107 of the Complaint.
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108. Denies the allegations contained in paragraph 108 of the Complaint.

109. Denies the allegations contained in paragraph 109 of the Complaint.

110. Denies allegations contained in paragraph 110 of the Complaint and respectfully
refers the Court to any alleged photographs for their full and accurate depictions.

111. The allegations contained in paragraph 111 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 111 of the
Complaint and respectfully refers the Court to any alleged statements for their full and accurate
content and context.

112. The allegations contained in paragraph 112 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 112 of the
Complaint and respectfully refers the Court to any alleged statements for their full and accurate
content and context.

113. Denies the allegations contained in paragraph 113 of the Complaint.

114. Denies the allegations contained in paragraph 114 of the Complaint.

115. Denies the allegations contained in paragraph 115 of the Complaint.

116. Denies the allegations contained in paragraph 116 of the Complaint.

117. Denies the allegations contained in paragraph 117 of the Complaint.

118. Denies the allegations contained in paragraph 118 of the Complaint.

119. Denies the allegations contained in paragraph 119 of the Complaint.

120. Denies the allegations contained in paragraph 120 of the Complaint.

121. Denies the allegations contained in paragraph 121 of the Complaint.
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122. Denies the allegations contained in paragraph 122 of the Complaint.

123. The allegations contained in paragraph 123 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 123 of the
Complaint and respectfully refers the Court to any alleged statements for their full and accurate
content and context.

124. Denies the allegations contained in paragraph 124 of the Complaint

125. The allegations contained in paragraph 125 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 125 of the
Complaint and respectfully refers the Court to any alleged statements for their full and accurate
content and context.

126. Denies the allegations contained in paragraph 126 of the Complaint.

127. The allegations contained in paragraph 127 of the Complaint can neither be
admitted nor denied because of the improper inclusion of footnotes citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 127 of the
Complaint.

128. Denies the allegations contained in paragraph 128 of the Complaint.

129. Denies the allegations contained in paragraph 129 of the Complaint.

130. Denies the allegations contained in paragraph 130 of the Complaint.

131, Denies the allegations contained in paragraph 131 of the Complaint.

132. Denies the allegations contained in paragraph 132 of the Complaint.

133. Denies the allegations contained in paragraph 133 of the Complaint.

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134. Denies the allegations contained in paragraph 134 of the Complaint.

135. Denies the allegations contained in paragraph 135 of the Complaint.

136. Denies the allegations contained in paragraph 136 of the Complaint.

FIRST CAUSE OF ACTION

137. Paragraphs 1 through 136 are realleged.

138. Denies the allegations contained in paragraph 138 of the Complaint.

139. Denies the allegations contained in paragraph 139 of the Complaint.

140. Denies the allegations contained in paragraph 140 of the Complaint.

141. Denies the allegations contained in paragraph 141 of the Complaint.

142. Denies the allegations contained in paragraph 142 of the Complaint.

143. Denies the allegations contained in paragraph 143 of the Complaint.

144. Denies the allegations contained in paragraph 144 of the Complaint.

145. Denies the allegations contained in paragraph 145 of the Complaint.

DEMAND FOR RELIEF

146. President Trump denies that plaintiff is entitled to any relief requested in the ad

damnum clause of the Complaint or any other relief.
FIRST AFFIRMATIVE DEFENSE

147, Plaintiffs claim is barred because defendant is immune, under the Supremacy
Clause of the United States Constitution, from suit in state court while serving as President of the
United States.

SECOND AFFIRMATIVE DEFENSE
148. The Complaint fails to state a cause of action.

THIRD AFFIRMATIVE DEFENSE

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149. The alleged defamatory statements are privileged or protected by one or more
immunities, including, but not limited to, under the Constitution of the United States.
FOURTH AFFIRMATIVE DEFENSE
150. The alleged defamatory statements are true.

FIFTH AFFIRMATIVE DEFENSE

 

151. Plaintiffs claim is barred because her damages, if any, were caused by acts of third
persons, for which defendant is not responsible.
SIXTH AFFIRMATIVE DEFENSE
152. Plaintiff is not entitled to punitive damages as a matter of law.
SEVENTH AFFIRMATIVE DEFENSE
153. Plaintiff has not sufficiently alleged defamation per se.
EIGHTH AFFIRMATIVE DEFENSE
154. Plaintiff has failed to plead damages with the required specificity.
NINTH AFFIRMATIVE DEFENSE
155. The Court lacks personal jurisdiction over President Trump.
TENTH AFFIRMATIVE DEFENSE
156. Plaintiffs claim is barred by New York’s anti-SLAPP laws, NY Civil Rights Law
§§ 70-a and 76-a.
COUNTERCLAIM
1. Defendant/Counterclaimant, Donald J. Trump (hereinafter ‘“Defendant/
Counterclaimant”), repeats and realleges each and every allegation within the preceding
paragraphs as if set forth at length herein.

2. Defendant/Counterclaimant makes this counterclaim for damages pursuant to New

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York’s Strategic Lawsuits Against Public Participation (“anti-SLAPP”) under Section 70-a and/or
Section 76-a of the New York Civil Rights Laws.

3. On January 20, 2017, Defendant/Counterclaimant was inaugurated as the 45th
president of the United States.

4. At or around that time, Plaintiff began drafting a book attacking the character of
twenty-one men who she claims negatively impacted her life. Her list included
Defendant/Counterclaimant.

5. On June 21, 2019, during the course of Defendant/Counterclaimant’s presidency,
New York Magazine published an excerpt of Plaintiffs then-forthcoming book, in which she
falsely alleged that she was sexually assaulted by Defendant/Counterclaimant in the 1990’s.

6. The false allegations were published in the midst of Defendant/Counterclaimant’s
presidency, knowing full well that Defendant/Counterclaimant would need to publicly respond to
the false allegations. In fact, this was likely done by design.

7. Upon information and belief, Plaintiffs motivation for asserting her false
allegations against Defendant/Counterclaimant was to garner public attention, increase the sales
of her book, and tarnish Defendant/Counterclaimant’s reputation.

8. By causing the excerpt, and ultimately the book, to be published, Plaintiff
knowingly and purposefully catapulted herself into the public sphere by maliciously attacking the
character of Defendant/Counterclaimant, a sitting president.

9. In response to the publication of Plaintiffs false allegations,
Defendant/Counterclaimant made three public statements, on June 21, 2019, June 22, 2019, and
on June 24, 2019, adamantly denying the allegations.

10. ‘Plaintiff's book, What Do We Need Men For? A Modest Proposal was subsequently

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published on July 2, 2019.

11. On November 4, 2019, Plaintiff commenced and has since continued the instant
action against Defendant/Counterclaimant, alleging that the three public statements denying her
claim defamed her.

12. | Upon information and belief, Plaintiff filed the instant action as retribution for
Defendant/Counterclaimant’s truthful statements, and for the sole purpose of harassing, punishing,
or otherwise maliciously inhibiting his free exercise of speech.

13. This action is based upon “communication in a public place open to the public or a
public forum in connection with an issue of public interest” and is further based upon “other lawful
conduct in furtherance of the exercise of the constitutional right of free speech in connection with
an issue of public interest”

14.‘ This action is “an action involving public petition and participation” as defined in
CRL Section 76-a because the defamation claim asserted by Plaintiffis based on communications
and statements made “‘in a place open to the public or a public forum in connection with an issue
of public interest”’ and/or involves “other lawful conduct in furtherance of the exercise of the
constitutional right of free speech in connection with an issue of public interest or in furtherance
of the exercise of the constitutional right of petition.” CRL §76-a(1)(d).

15. This action is not a “purely private matter.” CRL §76-a(1)(d).

16. — Plaintiff violated New York’s anti-SLAPP law by commencing or continuing the
instant action, which lacks a substantial basis in law and in fact. See N.Y. Civ. Rights Law § 70-
a, 76-a, and N.Y. C.P.L.R. § 3211(g), 3212¢h).

17. Defendant/Counterclaimant is entitled to costs and attorney’s fees pursuant to CRL

§76-a(1)(d) on the basis that Plaintiff knowingly commenced the instant proceeding without a

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substantial basis in law and fact and without support by a substantial argument for an extension,
modification, or reversal of existing law.

18. Plaintiff asserted her defamation claim even though she knew that
Defendant/Counterclaimant’s statements were truthful and not defamatory.

19. _—_- Regardless, Plaintiff thus initiated and continued the instant litigation for the sole
purpose of harassing, intimidating, punishing, or otherwise maliciously inhibiting
Defendant/Counterclaimant’s free exercise of speech, petition, and association rights.

20. | Defendant/Counterclaimant is therefore entitled to recover compensatory and
punitive damages from Plaintiff under CRL §70-a.

WHEREFORE, Defendant/Counterclaimant requests judgment against Plaintiff as

follows:
a. Dismissing the Complaint in its entirety;
b. An award of all of Defendant/Counterclaimant’s attorneys’ fees and costs incurred
in this action, as provided under CRL §70-a;
c. An award of compensatory damages, as provided under CRL §70-a, in an amount
to be determined at trial;
d. An award of punitive damages, as provided under CRL §70-a, in an amount to be
determined at trial; and
e. All other and further relief as this Court may deem just and proper.
Dated: New York, New York HABBA MADAIO & ASSOCIATES LLP

November , 2021

By:

 

Alina Habba, Esq.

1430 U.S. Highway 206, Suite 240

Bedminster, New Jersey 07921
-and-

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To:

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Roberta Kaplan, Esq.

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New York, New York 10118
Attorneys for Plaintiff, E. Jean Carroll

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New York, New York 10023

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E-mail: ahabba(«u habbalaw.com

Attorneys for Defendant, Donald J. Trump
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EXHIBIT 3
 

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Defendant
Devore avs

 

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Bedminster. New Jerse: 07921
-and-
270 W 60" Street
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Attorneys (or Defendant, Donald J. Trum: Formatted: Font: Italic

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

E. JEAN CARROLL, Civil Action No.: 1:20-cv-7311-LAK-JLC
Plaintiff,
AMENDED ANSWER
v.

DONALD J. TRUMP, in his personal capacity,

Defendant.
|

 

Defendant, Donald J. Trump (“President Trump”), subject to and reserving all rights to his

immunity, under the Supremacy Clause of the United States Constitution, Article IV, Section H,
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of a sitting United States President from being sued in state court while serving as President, for

his answer to the complaint:

1. Denies the allegations contained in paragraph 1 of the Complaint.
2. Denies the allegations contained in paragraph 2 of the Complaint.
3. Denies the allegations contained in paragraph 3 of the Complaint.
4, Denies the allegations contained in paragraph 4 of the Complaint.
5. Denies the allegations contained in paragraph 5 of the Complaint.

6. Denies the allegations contained in paragraph 6 of the Complaint.

7. Denies the allegations contained in paragraph 7 of the Complaint.

8. Denies the allegations contained in paragraph 8 of the Complaint.

9. Denies the allegations contained in paragraph 9 of the Complaint.

10. Denies the allegations contained in paragraph 10 of the Complaint.

11. Denies the allegations contained in paragraph 11 of the Complaint.

12. _ Denies the allegations contained in paragraph 12 of the Complaint.

13. Denies the allegations contained in paragraph 13 of the Complaint.

14. _ Denies the allegations contained in paragraph 14 of the Complaint.

15. Denies the allegations contained in paragraph 15 of the Complaint.

16. Denies the allegations contained in paragraph 16 of the Complaint.

17. | Denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraph 17 of the Complaint.
18. Denies the allegations contained in paragraph 18 of the Complaint.
19. The allegation contained in paragraph 19 of the Complaint asserts a demand for a

jury trial for which no response is required.
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20. Denies the allegations contained in paragraph 20 of the Complaint.
21. Denies the allegations contained in paragraph 21 of the Complaint.
22. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 22 of the Complaint.
23. Denies the allegations contained in paragraph 23 of the Complaint.
24. Denies the allegations contained in paragraph 24 of the Complaint.
25. Denies the allegations contained in paragraph 25 of the Complaint.
26. Denies the allegations contained in paragraph 26 of the Complaint.
27. Denies the allegations contained in paragraph 27 of the Complaint.
28. Denies the allegations contained in paragraph 28 of the Complaint.
29, Denies the allegations contained in paragraph 29 of the Complaint.
30. Denies the allegations contained in paragraph 30 of the Complaint.
31. Denies the allegations contained in paragraph 31 of the Complaint.
32. Denies the allegations contained in paragraph 32 of the Complaint.
33. Denies the allegations contained in paragraph 33 of the Complaint.
34. Denies the allegations contained in paragraph 34 of the Complaint.
35. Denies the allegations contained in paragraph 35 of the Complaint.
36. Denies the allegations contained in paragraph 36 of the Complaint.
37. Denies the allegations contained in paragraph 37 of the Complaint.
38. Denies the allegations contained in paragraph 38 of the Complaint.
39. Denies the allegations contained in paragraph 39 of the Complaint.
40. Denies the allegations contained in paragraph 40 of the Complaint.

41. Denies the allegations contained in paragraph 41 of the Complaint.
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42. Denies the allegations contained in paragraph 42 of the Complaint.

43. The allegations contained in paragraph 43 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014, Otherwise, denies the allegations contained in paragraph 43 of the Complaint.

44. Denies the allegations contained in paragraph 44 of the Complaint.

45. Denies the allegations contained in paragraph 45 of the Complaint.

46. Denies the allegations contained in paragraph 46 of the Complaint.

47, Denies the allegations contained in paragraph 47 of the Complaint.

48. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 48 of the Complaint.

49. Denies the allegations contained in paragraph 49 of the Complaint.

50. Denies the allegations contained in paragraph 50 of the Complaint.

51. Denies the allegations contained in paragraph 51 of the Complaint.

52. Denies the allegations contained in paragraph 52 of the Complaint.

53. Denies the allegations contained in paragraph 53 of the Complaint.

54. Denies the allegations contained in paragraph 54 of the Complaint.

55. Denies the allegations contained in paragraph 55 of the Complaint.

56. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 56 of the Complaint.

57. The allegations contained in paragraph 57 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 57 of the Complaint.
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58. The allegations contained in paragraph 58 of the Complaint can neither be admitted
nor denied because of the improper inclusion of footnotes citing to external sources in violation of
CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the truth
of the allegations contained in paragraph 58 of the Complaint.

59. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 59 of the Complaint.

60. Denies the allegations contained in paragraph 60 of the Complaint.

61. Denies the allegations contained in paragraph 61 of the Complaint.

62. Denies the allegations contained in paragraph 62 of the Complaint.

63. Denies the allegations contained in paragraph 63 of the Complaint.

64. Denies the allegations contained in paragraph 64 of the Complaint.

65. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 65 of the Complaint.

66. The allegations contained in paragraph 66 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 66 of the Complaint.

67. The allegations contained in paragraph 67 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in paragraph 67 of the Complaint.

68. Denies the allegations contained in paragraph 68 of the Complaint.

69. Denies the allegations contained in paragraph 69 of the Complaint.
Case 1:20-cv-07311-LAK Document 59-1 Filed 12/01/21 Page 39 of 49

70. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 70 of the Complaint.

71. Denies the allegations contained in paragraph 71 of the Complaint.

72. Denies the allegations contained in paragraph 72 of the Complaint.

73. Denies the allegations contained in paragraph 73 of the Complaint.

74. Denies the allegations contained in paragraph 74 of the Complaint.

75. Denies the allegations contained in paragraph 75 of the Complaint.

76. Denies the allegations contained in paragraph 76 of the Complaint.

77. The allegations contained in paragraph 77 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 77 of the Complaint.

78. The allegations contained in paragraph 78 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 78 of the Complaint.

79. Denies the allegations contained in paragraph 79 of the Complaint.

80. Denies knowledge or information sufficient to form a belief as to the truth of the
allegations contained in paragraph 80 of the Complaint.

81. Denies the allegations contained in paragraph 81 of the Complaint.

82. Denies the allegations contained in paragraph 82 of the Complaint and respectfully
refers the Court to any alleged statements for their full and accurate content and context.

83. The allegations contained in paragraph 83 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation

of CPLR 3014. Otherwise, denies the allegations contained in paragraph 83 of the Complaint.
84.

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The allegations contained in paragraph 84 of the Complaint can neither be admitted

nor denied because of the improper inclusion of a footnote citing to external sources in violation

of CPLR 3014. Otherwise, denies the allegations contained in paragraph 84 of the Complaint.

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88.

89.

90.

91.

Denies the allegations contained in paragraph 85 of the Complaint.
Denies the allegations contained in paragraph 86 of the Complaint.
Denies the allegations contained in paragraph 87 of the Complaint.
Denies the allegations contained in paragraph 88 of the Complaint.
Denies the allegations contained in paragraph 89 of the Complaint.
Denies the allegations contained in paragraph 90 of the Complaint.

The allegations contained in paragraph 91 of the Complaint can neither be admitted

nor denied because of the improper inclusion of a footnote citing to external sources in violation

of CPLR 3014. Otherwise, denies the allegations contained in paragraph 91 of the Complaint and

respectfully refers the Court to any alleged statements for their full and complete content and

context.

92.

The allegations contained in paragraph 92 of the Complaint can neither be admitted

nor denied because of the improper inclusion of a footnote citing to external sources in violation

of CPLR 3014. Otherwise, denies the allegations contained in paragraph 92 of the Complaint.

93.

94,

95.

96.

97.

Denies the allegations contained in paragraph 93 of the Complaint.
Denies the allegations contained in paragraph 94 of the Complaint.
Denies the allegations contained in paragraph 95 of the Complaint.
Denies the allegations contained in paragraph 96 of the Complaint.

The allegations contained in paragraph 97 of the Complaint can neither be admitted

nor denied because of the improper inclusion of a footnote citing to external sources in violation
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of CPLR 3014. Otherwise, denies the allegations contained in paragraph 97 of the Complaint and
respectfully refers the Court to any alleged statement for its full and complete content and context.

98. The allegations contained in paragraph 98 of the Complaint can neither be admitted
nor denied because of the improper inclusion of a footnote citing to external sources in violation
of CPLR 3014. Otherwise, denies the allegations contained in paragraph 98 of the Complaint.

99. The allegations contained in paragraph 99 of the Complaint can neither be admitted
nor denied because of the improper inclusion of footnotes citing to external sources in violation of
CPLR 3014, Otherwise, denies the allegations contained in paragraph 99 of the Complaint.

100. Denies the allegations contained in paragraph 100 of the Complaint.

101. The allegations contained in paragraph 101 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 101 of the
Complaint.

102. The allegations contained in paragraph 102 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014, Otherwise, denies knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 102 of the Complaint.

103. The allegations contained in paragraph 103 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 103 of the Complaint.

104. The allegations contained in paragraph 104 of the Complaint can neither be

admitted nor denied because of the improper inclusion of a footnote citing to external sources in
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violation of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 104 of the Complaint.

105. The allegations contained in paragraph 105 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies knowledge or information sufficient to form a belief
as to the truth of the allegations contained in paragraph 105 of the Complaint.

106. Denies the allegations contained in paragraph 106 of the Complaint.

107. Denies the allegations contained in paragraph 107 of the Complaint.

108. Denies the allegations contained in paragraph 108 of the Complaint.

109. Denies the allegations contained in paragraph 109 of the Complaint.

110. Denies allegations contained in paragraph 110 of the Complaint and respectfully
refers the Court to any alleged photographs for their full and accurate depictions.

111. The allegations contained in paragraph 111 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 111 of the
Complaint and respectfully refers the Court to any alleged statements for their full and accurate
content and context.

112. The allegations contained in paragraph 112 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 112 of the
Complaint and respectfully refers the Court to any alleged statements for their full and accurate
content and context.

113. Denies the allegations contained in paragraph 113 of the Complaint.
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114. Denies the allegations contained in paragraph 114 of the Complaint.

115. Denies the allegations contained in paragraph 115 of the Complaint.

116. Denies the allegations contained in paragraph 116 of the Complaint.

117. Denies the allegations contained in paragraph 117 of the Complaint.

118. Denies the allegations contained in paragraph 118 of the Complaint.

119. Denies the allegations contained in paragraph 119 of the Complaint.

120. Denies the allegations contained in paragraph 120 of the Complaint.

121. Denies the allegations contained in paragraph 121 of the Complaint.

122, Denies the allegations contained in paragraph 122 of the Complaint.

123. The allegations contained in paragraph 123 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 123 of the
Complaint and respectfully refers the Court to any alleged statements for their full and accurate
content and context.

124. Denies the allegations contained in paragraph 124 of the Complaint

125, The allegations contained in paragraph 125 of the Complaint can neither be
admitted nor denied because of the improper inclusion of a footnote citing to external sources in
violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 125 of the
Complaint and respectfully refers the Court to any alleged statements for their full and accurate
content and context.

126. Denies the allegations contained in paragraph 126 of the Complaint.

127, The allegations contained in paragraph 127 of the Complaint can neither be

admitted nor denied because of the improper inclusion of footnotes citing to external sources in

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violation of CPLR 3014. Otherwise, denies the allegations contained in paragraph 127 of the
Complaint.
128. Denies the allegations contained in paragraph 128 of the Complaint.
129. Denies the allegations contained in paragraph 129 of the Complaint.
130. Denies the allegations contained in paragraph 130 of the Complaint.
131. Denies the allegations contained in paragraph 131 of the Complaint.
132. Denies the allegations contained in paragraph 132 of the Complaint.
133. Denies the allegations contained in paragraph 133 of the Complaint.
134. Denies the allegations contained in paragraph 134 of the Complaint.
135. Denies the allegations contained in paragraph 135 of the Complaint.
136. Denies the allegations contained in paragraph 136 of the Complaint.
FIRST CAUSE OF ACTION

137, Paragraphs | through 136 are realleged.

138. Denies the allegations contained in paragraph 138 of the Complaint.
139. Denies the allegations contained in paragraph 139 of the Complaint.
140. Denies the allegations contained in paragraph 140 of the Complaint.
141. Denies the allegations contained in paragraph 141 of the Complaint.
142. Denies the allegations contained in paragraph 142 of the Complaint.
143. Denies the allegations contained in paragraph 143 of the Complaint.
144. Denies the allegations contained in paragraph 144 of the Complaint.
145. Denies the allegations contained in paragraph 145 of the Complaint.

DEMAND FOR RELIEF
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146. President Trump denies that plaintiff is entitled to any relief requested in the ad
damnum clause of the Complaint or any other relief.
FIRST AFFIRMATIVE DEFENSE
147. Plaintiffs claim is barred because defendant is immune, under the Supremacy
Clause of the United States Constitution, from suit in state court while serving as President of the
United States.
SECOND AFFIRMATIVE DEFENSE
148. The Complaint fails to state a cause of action.
THIRD AFFIRMATIVE DEFENSE
149. The alleged defamatory statements are privileged or protected by one or more
immunities, including, but not limited to, under the Constitution of the United States.
FOURTH AFFIRMATIVE DEFENSE
150. The alleged defamatory statements are true.
FIFTH AFFIRMATIVE DEFENSE
151. Plaintiff's claim is barred because her damages, if any, were caused by acts of third
persons, for which defendant is not responsible.
SIXTH AFFIRMATIVE DEFENSE
152. Plaintiff is not entitled to punitive damages as a matter of law.
SEVENTH AFFIRMATIVE DEFENSE
153. Plaintiff has not sufficiently alleged defamation per se.
EIGHTH AFFIRMATIVE DEFENSE
154. Plaintiff has failed to plead damages with the required specificity.

NINTH AFFIRMATIVE DEFENSE

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155. The Court lacks personal jurisdiction over President Trump.
TENTH AFFIRMATIVE DEFENSE

156. Plaintiff's claim is barred b, New York’s anti-SLAPP laws. NY Civil Rizhis Law

 

2 70-a and 76-a.
COUNTERCLAIM
1. Defendant/Counterclaimant. Donald J. Trump hereinafter
~Defendant/Counterclaimant™). repeats and _realleges each and every allegation within the

preceding parauraphs as if set forth at leneth herein.

2. Detendant/Counterclaimant makes this counterclaim for damaves pursuant to New

 

York's Stratevic Lawsuits Avainst Public Participation (“anti-SLAPP™! under Section 70-a and/or
Section 76-a of the New York Civil Rights Laws.

3. On January 20. 2017. Defendant/Counterclaimant was inausurated as the 45th
president of the United States.

4. At or around that time. Plaintiff bewan draftine a book attackine the character of
twentv-one men who she claims negatively impacted her life. Her Jist included

Defendant/Counterclaimant.

5. On June 21. 2019. durine the course of Defendant/Counterclaimant’s |:residency.

 

New York Magazine published an excerpt of Plaintiff's then-forthcomine book. in which she

falsel\ alleged that she was sexually assaulted bs Defendant/Counterclaimant in the 1990°s.

 

6. _ The talse alleeations were published in the midst of Defendant/Counterclaimant’s

 

presidency. knowing full well that Defendant/Counterclaimant would need 1o publicly respond to
the false alleeations. In fact. this was likely done by design.

7. Upon information and belief. Plaintiff's motivation for assertine her false

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allevations against Defendant/Counterclaimant was to garner public attention. increase the sales
of her book. and tarnish Defendant/Counterclaimant’s reputation.

8. By causing the exceryit. and ultimately the book. to be published. Plaintiff
knowinel, and purposefully catapulted herself into the public sphere by maliciously attacking the
character of Defendant/Counterclaimant. a sitling president.

9. In response to the publication of Plaintiffs false _ allegations.
Detendant/Counterclaimant made three public statements. on June 21. 2019. June 22. 2019. and
on June 24. 2019. adamantly denying the allevations.

10. Plaintiff's book. What Do We Need Men For? A Modest Proposal was subsequentl\
published on July 2. 2019.

i. On November 4. 2019. Plaintiff commenced and has since continued the instant
action against Defendant/Counterclaimant. alleviny that the three public statements denvine her
claim defamed her.

12. Upon information and belief. Plaintiff filed the instant action as retribution for
Defendant/Counterclaimant’s truthful statements. and for the sole purpose of harassing. unishine.
or otherwise maliciously inhibiting his free exercise of speech.

13. This action is based upon “communication in a public place open to the public ora
public forum in connection with an issue of public interest” and is further based upon “other lawful
conduct in furtherance of the exercise of the constitutional rieht of free speech in connection with
an issue of public interest”

14. This action is “an action involving public petition and participation” as defined in
CRL Section 76-a because the defamation claim asserted bv Plaintiff is based on communications

and statements made “in a place open to the public or a public forum in connection with an issue

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of public interest” and/or involves “other lawful conduct in furtherance of the exercise of the
constitutional rieht of free sneech in connection with an issue of public interest or in furtherance
of the exercise of the constitutional rivht of petition.” CRL $76-al lid).

15. This action is not a “purely private matter.” CRL $76-ai | id)

16. Plaintiff violated New York's anti-SLAPP law by commenciny or continuins the
instant action. which Jacks a substantial basis in law and in fact. See N.Y. Civ. Rights Law 8 70-

a. 76-a. and N.Y. C.P.L.R. § 3211/9). 321 2th

 

 

17. Defendant/Counterclaimant is entitled to costs and attorney's fees pursuant to CRL
¢76-al 1 iid) on the basis that Plaintiff knowinely commenced the instant proceeding without a
substantial basis in law and fact and without support by a substantial areument for an extension.

modification, or reversal of existing law.

 

18. Plaintiff asserted her defamation claim even thoush she knew _ that
Detendant/Counterclaimant’s statements were truthful and noi defamatorv.

19, Regardless. Plaintiff thus initiated and continued the instant litivation for the sole
purpose of harassing. intimidating. punishine. or otherwise maliciously inhibitine
Defendant/Counterclaimant’s free exercise of speech. petition. and association rivhts.

20. Defendant/Counterclaimant_is therefore entitled to recover _compensatorv_and

punitive damaces from Plaintiff under CRL $70-a.

 

WHEREFORE. Defendant/Counterclaimant reyuests judement against Plaintiff as
follows:
a. Dismissing the Complaint in its entirety:
b._ An award of all of Defendant/Counterclaimant’s attorneys’ fees and costs incurred

in this action. as provided under CRL $70-a:

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c. An award of compensatory damages. as provided under CRL £70-a. in an amount
to be determined at trial:

d. An award of punitive damaves. as provided under CRL $70-a. in an amount to be
determined at trial: and

e. All other and further relief as this Court max deem just and proper.

Dated: New York. New York HABBA MADAIO & ASSOCIATES LLP

November . 202]

By:
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-and-

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